Case 3:19-cv-08268-DLR Document 16-3 Filed 12/02/19 Page 1 of 28

EXHIBIT K

11/23/2019 ~ Case 3:19-cv-O082680BTARTMETQHEAINTEROR File gEpapopyagonpraee 2 of 28

Stephenson, Elston <elston_stephenson@nps.gov>

AED re-check from Friday

Vandzura, Matt <matt_vandzura@nps.gov> Mon, Mar 25, 2019 at 10:33 AM
To: Lisa Carrico <lisa_carrico@nps.gov>, Brian Drapeaux <brian_drapeaux@nps.gov>, Michael May
<michael_may@nps.gov>, "Sawyer, Kate" <kate_sawyer@ios.doi.gov>, Aaron Roth <aaron_roth@nps.gov>, Andrew Hower
<andrew_hower@nps.gov>, "Stephenson, Elston" <elston_stephenson@nps.gov>

Howdy,
Attached is the re-check of AEDs from Friday.

The North Rim is closed, no Rangers on duty so we weren't able to re-check those units. That will be accomplished prior
to opening 5/2019.

Matt

Matthew DB. Vandzura
Chief Ranger

Grand Canyon National Park
928 638 7800 office

928 522 3073 cell

- Promise me you will not spend so much time treading water and trying to keep your head above the waves that you
forget, truly forget, how much you have always loved to swim. Tyler Knott Gregson

AED Inventory_as_of_3.22.29.xIsx
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Stephenson, Elston <elston_stephenson@nps.gov>

AED re-check from Friday

Stephenson, Elston <elston_stephenson@nps.gov> Thu, Apr 11, 2019 at 5:55 AM
To: Kate Sawyer <kate_sawyer@ios.doi.gov>, Michael May <michael_may@nps.gov>
Cc: David Bernhardt <dwbernhardt@ios.doi.gov>, Mary Kendall <mary_kendall@doioig.gov>

Dr. Sawyer, Michael,

Good Morning.

Please receive this follow-up to my "Afterthoughts" email sent this morning.
Thank You again for taking this on.

Please know that | think that You and your investigation are being duped, played, defrauded with deliberately false
statements, and even fraudulent documents meant to buttress this sham.

As | alluded to the earlier email, | had to check back with OSC.

The reason that | had to check back with OSC is, unfortunately, unpleasant and nefarious---perhaps even criminal
conduct.

It occurred to me that | was using a 'guesstimate' when describing the distance that the Desertview Ranger had to run to
get the AED at the Tower the day the man died. And that | was using 'guesstimates' from the Rangers that | spoke with to
figure out how much time it took---guesstimates likely clouded and distorted by panic, fear, not really paying attention
explicitly to the runner, etc.

So the days after our teleconference---Saturday and Sunday | decided to go measure the distance and run it a couple of
- times---even carrying an AED. ,

Of course, as a Safety Officer, | wouldn't be worth my business cards if | would not have checked the AED at the Tower
while | was there.

The AED in that inventory "Attached is the re-check of AEDs from Friday." that Matt provided the Teleconference
participants clearly states that the Tower AED is a LifePak CR Plus, serial number 46276433.

Clearly the one in my Saturday March 23, 2019 pic is a LifePak 500. The other pics, one of our Rangers swearing in a
pair of Junior Rangers was around that time and verifies the location. | soon after ran the distance to the top of the venue
(measuring wheel in hand) and a visitor snapped the pic attached.

Sunday March 24, 2019, my intent was to run the route a few times again. But | was so impressed that they had a pouch
with gloves, shavers, and even a mouth-to-mouth prophylactic that | pulled it outside to take a pic as an example to be
copied by.

It wasn't until Sunday night that | took a look at Matt's inventory and realized that he had falsified (at least) that Deserview
Tower AED entry on the inventory.

Also questionable; if You will recall in my "Afterthought" email, the Rangers in the Desertview office had cannibalized an
AED from a nearby campground closed for the winter and put it in their office. | did not check, but | do not believe that
they had been provided (and the campground replaced) with a permanent AED. Those entries in the spreadsheet are
questionable.

Matt went on a month's long vacation immediately after that weekend (pic). So he had no intention of correcting it for at
least a month; if ever.

When | realized that we still had a 500 at the very place that the man had died with a LifePak 500 AED involved, |
contacted Matt's Deputy Chief (pic) had lunch with her and got her to replace the 500 with a CR Plus (pic).

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Doctor, Mike; Matt knows the difference (particularly in this very contentious discussion) between a LifePak 500 and a
LifePak CR Plus. | believe that Matt deliberately falsified that spreadsheet to trick You and the other on the email into
believing that our program was 'heaithier' than it was.

Clearly when he angrily shouted into the phone (at Dr. Sawyer) that "It was only at most 2 or 3 max AEDs that were found
with problems!", this was also wrong. He knew it. | had put out at various times and contemporaneously updated PSET: 8,

9, 10 AEDs reported bad....1| even documented it in update PowerPoints to PSET. I'm sorry that | deleted the pics of 3
other AEDs, but it was 13 bad AEDs in less than a year.

_ Worse; both Brian and Lisa (on the call) also knew that Matt was knowingly spewing out gravely incorrect numbers and
said nothing on the call.

Further, my ‘antenna’ tells me that You and the Team were probably lied to about the ‘health' of our AED program---
probably told that we had some sort of working system to track and detect AEDs for maintenance and upcoming

expirations; and likely told that we had removed of all LifePak 500s. Both are/were demonstrably not true. If they told You

this; they lied to You---to the investigation.

Michael, You mentioned that Brian swore that he knew nothing of the man's death. Please receive the text pics that |

found during a FOIA search attached. Clearly Brian is engaged in a dialog where | clearly express my concerns about not
only the man's death but the lack of trauma counseling for the Desertview Rangers in the aftermath. You don't ‘misplace'

a memory of someone notifying You about a fatality. He lied to You---to the investigation.

Lastly, | watched (during the teleconference) in shock as Brian and Lisa not only did not correct the angry "only 2 or 3
max" proclamations of Matt. But | was also shocked that they did not stop and address his open hostility and bullying ©
tactic with You. Particularly because | had just called it out at the PSET meeting days earlier (Tuesday), and very
pointedly called out Brian and Lisa for not stopping it. It is a regular feature in our PSET culture. You both saw it on
display at the very first 'In-Brief meeting as your team arrived here. Mike, You remarked to me about it.

During that Tuesday's (March 19, 2019) PSET meeting | notified the room of the expired AED that | found at Back
Country. Matt defended it as being 'not a big deal’ by describing how he had revived a man with an AED with expired
batteries. He told the room that it was overblown.

Piease be reminded that it was Matt who pronounced to PSET the philosophy that "If you need, an AED; you're already
dead". And that no one in the entire PSET other than me chailenged that.

Days later, Friday March 22, 2019 in an ‘All Employee’ email "Automatic External Defibrillators (AED)" he doubles down
on this claims and de facto made this part GRCA’s SOP by proclaiming that AEDs with 'Low Battery’ indications are

", SAFE TO USE" and that " they still have enough battery capacity in reserve to function normally and safely for the
duration of a cardiac arrest.”

This is dangerously not true---particularly in the case of the LifePak 500s.

| knew this to be not true, but called the manufacturer as a matter of due diligence. He expressed that this was the
craziest thing he had ever heard of. He emphatically urged me to correct this.

| will forward Matt's email, the PhysioControl (they've changed their name to Stryker), and you will find the pic of my
outgoing call to PhysioControl attached..

No one on PSET said anything about "If you need an AED; you're already dead."
No one on PSET said anything about "| revived a guy with an AED with bad batteries; it's not a big deal."
i've waited; no one on PSET said anything about the email (although Jeanne mentioned it to me).

The reason is that PSET is bullied by Matt. You've both seen this tactic (resorting to hostility and bullying when he is
losing the issue on merit) of resorting to hostility and bullying.

The AED program is just a symptom. Granted, itis a dangerous symptom with deadly consequences.

My data is true. There were 13 of 60 AEDs---22% found to be bad in less than a year at Grand Canyon National Park.
That's terrifying.

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And a combo of bad maintenance, and poor placement were undeniably present, and likely contributing to our inability to
revive a stricken visitor who died on our watch.

Respectfully, as far as a serious root cause analysis; the failed state of maintenance of the GRCA AED program is directly
caused by the Chief Ranger's demonstrated ignorance and cavalier attitude regarding AEDs. However, the true root
cause is the hostility and bullying which captivates the PSET whose responsibility it is to develop GRCA Park policy. The
root root cause is the lack of leadership demonstrated and exemplified by the Deputy Superintendents to confront and
end the hostility and bullying tactic which is a undeniable fixture of this culture.

Respectfully, this dangerous, reckless, promiscuous flirtation with dead AEDs runs the direct risk of ending in a fatality
and must be forcefully ended by DOI and NPS.

Doctor, Michael; I'm sorry, but | think that You are being played; lied to. And because this is an OSC directed
investigation; these would be material deliberate false statements, fraud, and even falsified, fraudulent documents
intended to mislead You in how safe this program is, but to defeat the OSC investigation. Criminal conduct.

Moreover, and respectfully, this unethical culture and sense of impunity and being able to get away with it is to blame for
not only the AED malaise, but the hiding of the uranium data from me and the workers that has brought GRCA front-and-
center in the first place.

| hope that You have not been fooled by these efforts.

A man died in this AED business. At the very least we owe him (and the workers still traumatized) a thorough, serious, y
investigation of unquestionable integrity. ,

I'm sorry that | did not say.something in the moment during the teleconference about the hostility. We keep talking about
this culturally at all levels of DOI and NPS. | just figured, that as the lowest ranking person on the call, that someone else
would step up. I'm sorry.

I've already briefed the OSC, and somewhat briefed Secretary Bernhardt and IG Kendall.
This is regrettable.

Please, this flirtation with dead or dying AEDs has to be slammed hard.

We owe these people---both. the workers and the visitors the very best in safety.

Safety shouldn't be this hard.

Thank You.

Regrettably,
Elston

Elston "Swede" Stephenson, OHST
Safety Health & Wellness Manager
Grand Canyon National Park
928-255-8727

wonenenes Forwarded message ---------

From: Vandzura, Matt <matt_vandzura@nps.gov>

Date: Mon, Mar 25, 2019 at 10:33 AM

Subject: AED re-check from Friday

To: Lisa Carrico <lisa_carrico@nps.gov>, Brian Drapeaux <brian_drapeaux@nps.gov>, Michael May
<michael_may@nps.gov>, Sawyer, Kate <kate_sawyer@ios.doi.gov>, Aaron Roth <aaron_roth@nps.gov>, Andrew
Hower <andrew_hower@nps.gov>, Stephenson, Elston <elston_stephenson@nps.gov>

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Case 3:19-cv-08268-DLR Document 16-3 Filed 12/02/19 Page 9 of 28

EXHIBIT L
Case 3:19-cv-08268-DLR Document 16-3 Filed 12/02/19 Page 10 of 28

UNITED STATES DEPARTMENT OF

THE INTERIOR

NATIONAL PARK SERVICE

REPORT OF INVESTIGATION

Investigation conducted by:

The Law Offices of Stuart L. Plotnick
Neil Jacobs - Investigator

51 Monroe Street, Suite 701
Rockville, Maryland 20850
301.251.1286 (phone)

301.762.8539 (fax)

COMPLAINANT’SNAME: Elston L. Stephenson
COMPLAINT NUMBER: NPS-18-0460

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Case 3:19-cv-08268-DLR Document 16-3 Filed 12/02/19 Page 11 of 28

more favorably than the Complainant under similar circumstances?

Rebuttal:

Once the Complainant has established a prima facie case of discrimination then
management has the burden to articulate a legitimate non-discriminatory reason
for its action.

Pretext:

Once management has articulated a legitimate non-discriminatory reason its
action, then the burden shifts back to the claimant to establish that the agency’s
articulated reason is a pretext for unlawful discrimination.

Defense:
Whether the Agency official(s) responsible for the employment action at issue
articulate a legitimate, non-discriminatory reason (s) for the action at issue.

Pretext:
Whether the articulated reason(s) is pretext for prohibited discrimination.

Ill. DESCRIPTION OF THE INVESTIGATION

Places of Investigation: Grand Canyon, AZ
Dates of Investigation: June 14, 2019

Date ROI Submitted: August 5, 2019
Investigative Method Used: Telephone interviews

IV. BACKGROUND AND SUMMARY OF EVIDENCE

Background .

Elston Stephenson (African American) hereafter Complainant, is a Safety Health and
Wellness Manager, grade GS-0018-13, United States Department of the Interior (DOJ),
National Park Service (NPS), Grand Canyon National Park, Grand Canyon, AZ. He has
been in his position since June 26, 2017, the same period he has worked for the Agency.
His first level supervisor is Brian Drapeaux, Deputy Superintendent. He has worked for
Mr. Drapeaux since January 2018. Former Superintendent Christine Lehnertz is
Complainant’s second level supervisor. Complainant worked for Ms. Lehnertz until she
left the Agency in 2019.!

Brian Drapeaux (American Indian) responsible management official, is Deputy
Superintendent, United States Department of the Interior (DOI), National Park Service
(NPS), Grand Canyon National Park, Grand Canyon, AZ. He has been in his position

' Numerous efforts were made requesting that Complainant provide testimony including an interview, a
completed and signed affidavit and a rebuttal. To date, no response has been received from Complainant.
Additionally, former Superintendent Christine Lehnertz declined to provide testimony. See Exhibit G-9.
Case 3:19-cv-08268-DLR Document 16-3 Filed 12/02/19 Page 12 of 28

since June 2014. Mr. Drapeaux is familiar with Complainant as his first level supervisor .
He is aware from visual observation that Complainant is an African American.

Matthew Vandzura (White) responsible management official, is Chief Ranger, grade
GS-14, United States Department of the Interior (DOT), National Park Service (NPS),
Grand Canyon National Park, Grand Canyon, AZ. He has been in his position since
March 2016, and has worked for the Agency since 1989. Mr. Vandzura is familiar with
Complainant as the Safety Officer at Grand Canyon National Park. He is aware that
Complainant is African American from visual observation of him.

Charles Erikson (Caucasian) witness, is a Visitor Use Assistant; grade GS-5, United
States Department of the Interior (DOI), National Park Service (NPS), Grand Canyon
National Park, Grand Canyon, AZ. He has been in his position since April 2016 and has
worked for the Agency since 2011. Mr. Erikson is aware that Complainant is African
American from visual observation of him.

David Kane (Caucasian) witness, is Chief of Safety, Health and Wellness; grade GS-14,
United States Department of the Interior (DOI), National Park Service (NPS), Grand
Canyon National Park, Grand Canyon, AZ. He has been in his position since August,
2016, and has worked for the Agency since 2008. Mr. Kane is aware of Complainant
being African American from visual observation of him.

Summary

Whether the complainant was subjected to harassment and discriminated
against on the basis of race (African American) when:

1. He was not given a performance appraisal during his entire tenure at
GRCA (Grand Canyon National Park).

Management Testimony

Mr. Drapeaux states that Complainant was not provided with a performance work plan
prior to the period November 9, 2019 to December 19, 2019. According to Mr.
Drapeaux, former Superintendent Lehnertz wanted to fire Complainant during his
probationary period. He states that she utilized words in describing Complainant that led
him to believe that she was basing her feelings toward him on his race rather than
performance. Mr. Drapeaux states that he did not want to prepare a performance work
plan for Complainant because he believed that Ms. Lehnertz would want material placed
in it that could be used to justify his termination. He states that he himself had filed
several complaints against Ms. Lehnertz. Mr. Drapeaux states that Ms. Lehnertz was
subsequently suspended, and voluntarily resigned from her position last Spring.

_ Mr. Drapeaux states that Complainant has since requested a performance work plan
and/or appraisal from him both in writing and verbally. He states that he has
attempted to meet with Complainant on multiple occasions to design his performance
Case 3:19-cv-08268-DLR Document 16-3 Filed 12/02/19 Page 13 of 28

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Stephenson, Elston <elston_stephenson@nps.gov>

Elston: IG Follow-Up - Clearance to Take Gov Vehicle Home

Stephenson, Elston <elston_stephenson@nps.gov> Fri, Aug 2, 2019 at 2:58 PM
To: Woody Smeck <woody_smeck@nps.gov>

Woody,

Good Afternoon.

Can You please clear me to take my GOV home at night pending a written memorandum?
Wednesday | was interviewed by the IG for 'misuse of a government vehicle’ allegation.
One of the allegations was that | was taking home my vehicle without written authorization.

The understanding that | have operated under has been that due to the nature and responsibility of the Safety Manager, |
must be poised to immediately respond to chemical/HAZMAT spills, fatalities, amputations, crashes, etc at all times.

The IG folks said that | had to have a memorandum and that | am in violation of ‘policy’ unless | have a memorandum.
| cannot find a memorandum template. No one in the building has ever done one.

Can You please voice-clear me to take home my vehicle until | find the memorandum and get it to You?

Thank You.
Sincerely,

Elston
928-255-8727

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Stephenson, Elston <elston_stephenson@nps.gov>

Elston: IG Follow-Up - Clearance to Take Gov Vehicle Home

Smeck, Woody <woody smeck@nps.gov> Fri, Aug 2, 2019 at 3:58. PM
To: "Stephenson, Elston" <elston_stephenson@nps.gov>

Elston,

Let me review national policy on this subject. | will respond shortly.

Woody Smeck

Acting Superintendent
Grand Canyon National Park
P.O. Box 129

Grand Canyon, AZ 86023
(928) 638-7945 office

(559) 788-9247 mobile

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Stephenson, Elston <elston_stephenson@nps.gov>

Your request for Home-to-Work use of a government vehicle

Woody Smeck <woody_smeck@nps.gov> . Tue, Aug 13, 2019 at 7:00 AM
To: elston_stephenson@nps.gov

Hello Elston,

in the email below dated August 2, 2019 you requested authorization to take a government passenger carrier home in
order to immediately response to safety incidents.

In reviewing authority and guidance provided under 31 USC §1344, 41 CFR §102, and RM44, the Secretary must
authorize all home-to-work transportation involving government passenger carriers. RM44 states, "The Secretary of the
Interior is the only official authorized to approve the use of Government motor vehicles between an employee's residence
and place of employment." See https:/Avww.nps.gov/policy/DOrders/RM44.pdf for more information.

The Secretary has approved a narrow group of positions for home-to-work vehicle use, but safety officer is not among the
approved positions. Use of your government vehicle is for official government purposes only.

Please let me know if you'd like to discuss further.

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Case 3:19-cv-08268-DLR Document 16-3 Filed 12/02/19 Page 17 of 28

EXHIBIT N

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Stephenson, Elston <elston_stephenson@nps.gov>

Fwd: Steidle Tort Claim.

Stephenson, Elston <elston_stephenson@nps.gov> Fri, May 31, 2019 at 6:00 AM
To: Brian Drapeaux <brian_drapeaux@nps.gov>, "Vandzura, Matt" <matt_vandzura@nps.gov>

Brian, Matt,
Good Morning.
| don't know what You mean by "taking so long”.

| spent 5 hours researching and responded at length to this claim on May 22, 2019. In it | expressed: How it was denied
before | arrived at GRCA. How based on information from Nicole, he simply re-submitted the denied claim paperwork and
attached ‘estimates'. How | advised the claimant (and later, You) that he only had ‘estimates’ instead of actual receipts
and that it would be better for his claim if he had actual receipts. How he responded that he refused to have the work
done because "NPS has a good record of denying these claims with no continued course of action by the claimer and as
a result | didn't want to spend thousands out of my pocket if | wasn't going to get reimburse". How | advised both You and
Matt of the hazards of settling claims based on estimates and, how it is likely against any prudent policy. And how it would
likely be again Denied.

That was everyone's opportunity to fix this package before resubmitting.

Brian concurred by stating "i'm sure by policy, that there must be an actual expenditure. With out that, | would find it
impossible for there to be a claim." in the May 22, 2019 email (pasted below).

That was the Superintendent's Office's 'non-endorsement.'
Any Fiduciary (to include the Solicitor's Office) would also 'non-endorse' this claim.
On Memorial Day weekend, May 26, 2019 Matt located the complainant's contact information. He lives in Virginia.

Never mind that there was going to be no progress at all on his case over the Memorial Day weekend; that he now lives
in Virginia creates problems that You and Matt should have spotted and addressed.

Filing a claim which suggests (based on the estimates attached) that he will be spending X amount of dollars renting a car
in Flagstaff, and spending X amount of dollars for repairs done at a shop in Flagstaff, and spending X amount of dollars
on mileage from Grand Canyon to Flagstaff---when he (and presumably his car) are in Virginia (where any future work
would likely be done) is a virtual sure-fire denial and submitting such a claim will likely open him up to allegations of fraud.

Neither the claimant or his supervisory chain have done any work here. They have simply taken the bad (already denied)
paperwork, added Grand Canyon to Flagstaff Arizona estimates, and re-submitted it.

You and Matt are pushing a bad claim which may permanently close the door to any opportunity to help Our Worker.

He should have gotten the work done, or at the very least updated the paperwork to reflect Virginia estimates---or
wherever he would actually get the work done.

in order to meet your "provide an update by COB Friday May 31, 2019" "" to show responsiveness", | will forward this
deeply flawed package to the Solicitor's Office.

Submitting such a flawed package will most likely result in a second Denial and prejudice him in the Office with respect to
any future filing.

Also, | don't know who advised him to use an SF-95. My research finds that he should have filed a DI-570.

Respectfully, and again, the claimant is Our Teammate. And we should do what we can to justly repair his POV damaged
by our GOV. He legitimately has the basis of a claim which meets the Four Elements of a Tort. He is not served well by
this package and your insistence on pushing it.

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Brian (the Superintendent's Office) has clearly already stated as much. (below).
Please expect that the Solicitor's Office will Deny this claim.
Please consider this your COB Friday May 31, 2019 update.

Thank You.

Sincerely,
Elston

' Elston L Stephenson, OHST
Safety Health & Wellness Manager
Tort Claims Officer
Grand Canyon National Park
928-255-8727

wnnnnnn-n- Forwarded message ---------

From: Drapeaux, Brian <brian_drapeaux@nps.gov>
Date: Wed, May 22, 2019 at 9:02 AM

Subject: Re: SF 95

To: Stephenson, Elston <elston_stephenson@nps.gov>
Cc: Vandzura, Matt <matt_vandzura@nps.gov>

Hi Elston,

I'm sure by policy, that there must be an actual expenditure. With out that, | would find it impossible for there to be a
claim.

thanks,

Brian

Brian Drapeaux

Deputy Superintendent, Business Operations
Grand Canyon National Park

P.O, Box 129

Grand Canyon AZ 86023

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5 attachments

Steidile Rental Car.PNG
35K

Steidle Mileage to Flagstaff.PNG
35K

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11/24/2018 Case 3:19-cv-08268-DER* WEULATEHE NSESIOF Net DaGzdeloPeye 20 of 28

a Steidle Claim For Damage Form SF-95.pdf
— 1103K

aay STEIDLE MVA Statement.docx
13K

=) Steidle Vehicle Damage Estimate - Campus Collision Flagstaff.pdf
53K

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Stephenson, Elston <elston_stephenson@nps.gov>

Fwd: Steidle Tort Claim

Drapeaux, Brian <brian_drapeaux@nps.gov> ‘ Wed, May 29, 2019 at 2:07 PM
To: Elston Stephenson <elston_stephenson@nps.gov>

Hi Elston,

I'm not sure why the TORT related issues are taking so long to respond to but people are waiting and deserve some sort
of update in regard to their claim. Provide an update by COB Friday May 31, 2019 to Matt and his staff member so show
responsiveness. Please cc me on the exchange.

thanks,
Brian

Brian Drapeaux

Deputy Superintendent, Business Operations
Grand Canyon National Park

P.O. Box 129

Grand Canyon AZ 86023

928-638-7945 Phone

928-638-7815 Fax
Brian_Drapeaux@nps.gov

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EXHIBIT O

Case 3:19-cv-08268-DLR Document 16-3 Filed 12/02/19 Page 23 of 28
United States Department of the Interior :

NATIONAL PARK SERVICE

GRAND CANYON NATIONAL PARK
20 South Entrance Road
PO Box 129
Grand Canyon, Arizona 86023
Date: February 26, 2019
To: Elston Stephenson, Safety Manager, Grand Canyon National Park
From: Brian Drapeaux, Deputy Superintendent, Grand Canyon National Park
Subject: Instruction Regarding Communications Related to Radiation Exposure and Uranium Ore

With the departure of Acting Superintendent, Woody Smeck, I would like to reiterate instructions in the :
02/07/2019 memorandum that Mr. Smeck issued to you regarding your responsibilities as to radiation
exposure and uranium ore. The Park remains appreciative of your efforts regarding this issue, and as
indicated in Mr. Smeck’s memorandum, the Park’s response and communications regarding same will be

. handled by OSHA and the federal risk management team. As indicated in Mr. Smeck’s memorandum, all
communications with NPS employees and dealings with other agencies regarding this matter will be
handled by the federal risk management team, and as such, you were specifically instructed not to

communicate with park staff on this matter.

I understand that you sent two emails to a number of Park employees on 2/17/2019 and 2/25/2019
regarding this issue. Again, to be clear, you are not to communicate with any staff regarding this issue.
This matter is being investigated by the appropriate authorities, and any communications regarding this
issue should come from the agency, so that there is no confusion regarding the agency’s official position

on this issue,

Page | 1

Case 3:19-cv-08268-DLR Document 16-3 Filed 12/02/19 Page 24 of 28

if you receive any emails regarding this issue from any employees or other state and federal agencies, you
are instructed to forward them to Brian Drapeaux, and the agency will respond accordingly. We again

emphasize that failure to comply with these instructions may result in disciplinary action.

As mentioned in the press release of 2/2 1/2019, NPS will update a recorded phone line (928-638-7688)

and the park's website (hitps://www.nps.gov/grea/learm/historyculture/muscol htm) as new information

becomes available regarding this issue. The public may also email grca_incident team@nps.gov with

questions or concerns.
“Ben
Brian Drapeaux

Ce: Acting Regional Director, Intermountain Regional. Office

Employee Receipt of Acknowledgement

Please sign and date this letter as evidence that you have received it. Your signature does not mean that
you agree or disagree with the contents of this letter. Your failure to sign will not void the contents of this
letter.

ya hed Date: 2 F 4th 2017
7

Receipt Acknowledged: elif Yo 7

Page |2
Case 3:19-cv-08268-DLR Document 16-3 Filed 12/02/19 Page 25 of 28

EXHIBIT P

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Stephenson, Elston <elston_stephenson@nps.gov>

Official Time and Leave Procedures

Risser, Mary <mary_ risser@nps. gov> Thu, Nov 21, 2019 at 8:47 AM
To: Elston Stephenson <elston_stephenson@nps.gov>

Good morning, Elston.

| wanted to get back to you about your email from Tuesday that informed me that you needed to spend an "inordinate"
amount of time working with the U.S. Attorney's Office, DOI Solicitor's Office, EEOC lawyers, and private attorneys. Yes,
you are entitled to a "reasonable" amount of official time - not an inordinate amount of time - to prepare and present this
complaint. This is usually measured in hours, not days, weeks or months.

This is an area that | haven't dealt with often. So you will find that if | don't know the exact answer, | will contact the
experts to get that information so | can give you the best possible information that | can.

| have been informed that the AUSA and the DOI Solicitor were prepared to talk to you, instead you sent them a very long
email in which you tried to respond to some assertions made in a pending motion to dismiss as well as some statements.
While we do not know how long you actually spent working on that email, you claim to have spent a lot of time. The
recommendation that | received from the Solicitor would be to allow up to 8 hours with regard to preparation of that
particular email.

We don't have any other calls or meetings planned in the near future, so there really should be no meeting for which you
need to prepare, let alone for an “inordinate” amount of time.

You will see I've attached two documents for your review. The first provides information about the use of official time. The
second comes from the Natchez Trace Parkway standard operating procedures. While the information does come from
another park the source of the information provides the direction for all NPS units. Below are the citations, so there should
be no questions about if they apply to the Grand Canyon and its personnel.

5 U.S.C § 63 Leave; 5 C.F.R. § 630.209; 5 U.S.C § 6302(d):
5 C.F.R. § 630.402; 5 C.F.R. § 630.501; 5 C.F.R. 630.502(a);
37 Comp. Gen 439

Personnel Bulletin NO:15-05 dated July 20, 2015 - Family
Medical Leave Act

Elston, | believe that we will be able to work together well over the next few months as long as we are operating from the
same set of expectations. This basic understanding about leave and official time will be the foundation from which all else
will stem. Moving forward, my expectations are for you to follow the leave requesting procedures outlined and to contact
me in advance concerning the amount of official time you anticipate you may need so that | can review and make the
appropriate determination

Please let me know if you have any questions.

Mary

Mary Risser, Acting Superintendent
Grand Canyon National Park

P.O. Box 129

Grand Canyon, AZ 86023

928.638.7945 (office)
662.308.8829 (iPhone)

"Quotes found on the internet are not always accurate." Abraham Lincoln

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FIND YOUR |

PARK

2 attachments
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= AD08.1 - Leave 5.25.2018.pdf
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Stephenson, Elston <elston_stephenson@nps.gov>

Official Time and Leave Procedures

Stephenson, Elston <elston_stephenson@nps.gov> Thu, Nov 21, 2019 at 10:14 AM
To: "Risser, Mary" <mary_risser@nps.gov>

Mary,
Good Morning.
Thank You...lots to read in the references. | haven't cracked them open yet.

There was the time of the calls and preparation. I've been doing the homework through the nights and getting with people
during the day.

That is what | meant by inordinate.

Respectfully, as | have a better sense of what is happening---court submissions, counseling, deadlines. | am in a better
position to determine what my needs are, what my deadlines and requirements are.

This is a weeks long (at least) process.

| did not mean that | was going to be solely doing this for a week. But that there would be times when | would have to
attend events or step away for a phone call for privacy purposes.

Mary, this is new to me too. And frankly, didn't think I'd end up ‘here’ in a million years. : (
| have and will endeavor to keep You informed.

Thank You

Sincerely,
Elston

928-255-8727
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